Case: 3:16-cv-50310 Document #: 254-5 Filed: 09/15/23 Page 1 of 4 PageID #:3598




             EXHIBIT 22
9/14/23, 9:47 AMCase: 3:16-cv-50310 Document #: 254-5
                                             Know        Filed:
                                                  Your Rights     09/15/23
                                                              - Abortion in IllinoisPage
                                                                                     | ACLU 2  of 4 PageID #:3599
                                                                                            of Illinois




        ACLU of Illinois                                                                                   Menu       Donate

               KNOW YOUR RIGHTS - ABORTION IN
               ILLINOIS
                                                                                 Laws around accessing abortion vary
                                                                                 from state to state. Illinois law ensures
                                                                                 that abortion is legal for all people.
                                                                                 Know your rights when accessing
                                                                                 abortion care in Illinois:

                                                      In Illinois you have the fundamental
                                                      right to make decisions about your
                                                      reproductive health care. You have
                                                      that right regardless of age, gender
                                                      identity, gender expression, sexual
                                                      orientation, sexual behavior, class,
                                                      immigration status, race, ethnicity,
                                                      language ability, or disability status.
                                                      You also have that fundamental right
                                                      even if you are in State custody,
      control, or supervision including in jail, prison or under DCFS custody.

      You have the right to keep your abortion confidential regardless of how old you are.

      If you are under 18 (https://www.aclu-il.org/en/youthrepro), a clinic is not required by
      law to contact a parent or legal guardian if you are seeking abortion care services.
      Who you tell about your abortion is entirely up to you.

      Illinois Medicaid and most private health insurance plans are required to cover
      abortion care. If you have an Illinois based private insurance plan, use this chart
      (https://www.aclu-
      il.org/sites/default/files/does_your_health_insurance_plan_cover_abortion_care.pdf) to see if
      abortion care is covered. There are also private organizations that may be able to
      help you with abortion costs. Some clinics may also provide financial assistance.


                                                                                                               NIFLA 02002
https://www.aclu-il.org/en/know-your-rights/know-your-rights-abortion-illinois                                                 1/3
9/14/23, 9:47 AMCase: 3:16-cv-50310 Document #: 254-5
                                             Know        Filed:
                                                  Your Rights     09/15/23
                                                              - Abortion in IllinoisPage
                                                                                     | ACLU 3  of 4 PageID #:3600
                                                                                            of Illinois

      You can get an abortion at many family planning clinics and at some doctor's offices
      and hospitals.

      Medical providers are not required to offer abortions, and some hospitals and clinics
      associated with religious groups refuse to do them. Under Illinois law groups that
      have religious objections to providing a service are required to offer information for
      you to get that service. If you think your rights were violated fill out this form
      (https://action.aclu.org/legal-intake/religious-refusals-complaint-form).

      Be skeptical of organizations that claim to offer comprehensive family planning
      services but do not share information about all your options, including abortion.
      Calling themselves “Crisis Pregnancy Centers,” “Pregnancy Resource Centers” and
      other deceptive names, they give misleading information to try to prevent you from
      having an abortion. If you feel you are being lied to or coerced, you are entitled to
      leave a clinic or center at any time. To make sure an establishment is not a fake
      center posing as a true comprehensive women’s health clinic, search the End The
      Lies (https://endthelies.com/about/fake-womens-health-center-locations/) database.

      Abortion providers in Illinois will not force you to go through many of the obstacles
      seen in other states. You will not need to endure a waiting period, view an
      ultrasound or listen to a state-sponsored lecture filled with misinformation.




MORE RESOURCES
Financial Support:

      National Network of Abortion Funds (https://abortionfunds.org/)

      National Abortion Federation (http://www.prochoice.org/) (800-772-9100)

      Chicago Abortion Fund (http://chicagoabortionfund.com/) (312-663-0338)

      Midwest Access Coalition (https://midwestaccesscoalition.org/) (847-750-6224)

Finding An Abortion Provider:

      National Abortion Federation (http://prochoice.org/) (877-257-0012)

      Planned Parenthood of Illinois (http://www.plannedparenthood.org/planned-parenthood-
      illinois) (877-200-PPIL)

                                                                                                   NIFLA 02003
https://www.aclu-il.org/en/know-your-rights/know-your-rights-abortion-illinois                                      2/3
9/14/23, 9:47 AMCase: 3:16-cv-50310 Document #: 254-5
                                             Know        Filed:
                                                  Your Rights     09/15/23
                                                              - Abortion in IllinoisPage
                                                                                     | ACLU 4  of 4 PageID #:3601
                                                                                            of Illinois




ILLINOIS ABORTION LAWS AND PROTECTIONS (HTTPS://WWW.ACLU-
IL.ORG/SITES/DEFAULT/FILES/ILLINOIS_ABORTION_LAWS_AND_PROTECTIONS.PDF)
(EN ESPAÑOL) (https://www.aclu-
il.org/sites/default/files/resumen_leyes_y_protecciones_sobre_el_aborto_en_illinois.pdf)




                                                                                                   NIFLA 02004
https://www.aclu-il.org/en/know-your-rights/know-your-rights-abortion-illinois                                      3/3
